“AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Michigan

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Grayson . (2i- 5 _
) _ ) Civil ActionNo. 147 }3555
Plaintiff, )
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Gath eield Police Deplh } Hom NANO A
)
Defendant. )

| SUMMONS IN A CIVIL ACTION

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3} — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey, whose name and

address are:
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If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

DAVID J. WEAVER, CLERK OF COURT By: /--

Signature of Clerk or Deputy Clerk

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Date of Issuance:

~ + “AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Michigan

GRAYson-Bey, )
)
Plaintiff Civil ActionNo. {4-([3469Y

)
v. )

Southfield Police Bepartment,) tos Mawey G. Edmunds
el al, )
Defendant. )

SUMMONS IN A CIVIL ACTION

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Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose name and
address are:

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DAVID J. WEAVER, CLERK OF COURT By: LE

Signature of Clerk or Deputy Clerk
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Date of Issuance: Jan

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Michigan

Ganyson - Bey
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Plaintiff Civil ActionNo. I~ | 3 5¢¢
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Hon, MAMEY G: Edmunds

SouthField Police beptyciar, ?
Defendant. )

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If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

DAVID J. WEAVER, CLERK OF COURT By: Ge—

Signature of Clerk or Pepi Clerk

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Date of Issuance:

Case 2:19-cv-13588-NGE-DRG ECF No. 7, PagelD.22 Filed 01/07/20 Page 4 of 4

AU 44uU (Rey 06 12) Summons ima Coal Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Michigan

Garnyson- Bey
in ) Civil ActionNo. 14-1 359Y
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Ho. NANCY G. Edmunds
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SUMMONS IN A CIVIL ACTION

ro: 6FFicer Michael WoyciechowsKy

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Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:

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Gerard DuTectT , MA\

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DAVID J. WEAVER, CLERK OF COURT By: Lu

Signature of Clerk or Deputy Clerk

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Date of Issuance:

